         Case 2:14-cr-00168-TOR            ECF No. 470        filed 01/15/15       PageID.2008 Page 1 of 1
O PS 8
(5/04)                                                                                                     FILED IN THE
                                                                                                       U.S. DISTRICT COURT
                                                                                                 EASTERN DISTRICT OF WASHINGTON
                              UNITED STATES DISTRICT COURT
                                                                                                  Jan 15, 2015
                                                             for
                                                                                                      SEAN F. MCAVOY, CLERK

                                            Eastern District of Washington


U.S.A. vs.                  Haffner, Christopher D                       Docket No.        0980 2:14CR00168-TOR-20


                                 Petition for Action on Conditions of Pretrial Release

         COMES NOW Charles J Kuipers, PRETRIAL SERVICES OFFICER presenting an official report upon the
conduct of defendant Christopher D. Haffner, who was placed under pretrial release supervision by the Honorable U.S.
Magistrate Judge John T. Rodgers sitting in the Court at Spokane, Washington, on the 4th day of December 2014, under
the following conditions:

Condition #1: Defendant shall not commit any offense in violation of federal, state or local law. Defendant shall advise the
supervising Pretrial Services Officer and defense counsel within one business day of any charge, arrest, or contact with law
enforcement. Defendant shall not work for the United States government or any federal or state law enforcement agency,
unless Defendant first notifies the supervising Pretrial Services Officer in the captioned matter.

         RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:


Violation: Defendant was arrested on January 13, 2015, by the Washington State Patrol for driving under the influence.

                             PRAYING THAT THE COURT WILL ORDER A WARRANT

                                                                          I declare under the penalty of perjury
                                                                          that the foregoing is true and correct.
                                                                          Executed on:       January 15, 2015
                                                                   by     s/Charles J. Kuipers
                                                                          Charles J. Kuipers
                                                                          U.S. Pretrial Services Officer

THE COURT ORDERS

[ ]      No Action
[X]       The Issuance of a Warrant
[ ]      The Issuance of a Summons
[ ]      Other

                                                                            Signature of Judicial Officer

                                                                             01/15/2015
                                                                            Date
